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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

Case No.: 3:24-cv-00526-ART-CLB



EXHIBIT 3
Media reports from Reno News & Review, Our Town Reno, and KUNR regarding Washoe
County Libraries and Our Center “partnership”

Submitted by:
Plaintiff: Drew J. Ribar (Pro Se)
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Date: January 7, 2025



This document is submitted as part of Plaintiff's filing in opposition to Defendant Build Our
Center, Inc.'s Motion to Dismiss. It is marked as Exhibit 3 to support Plaintiff’s argument
regarding the collaboration between Build Our Center, Inc., and the Washoe County Library
System.

Relevant Information: 5/21/23 RN&R article “The Washoe County libraries and Our
Center, a spokeswoman said, will be producing “rainbow festivals””, 7/25/24 Our Town
Reno “Washoe County Libraries cease hosting Pride events”… “there has been work by
library staff and volunteers to make changes”, 7/24/24 KUNR “Our Center, a Reno
nonprofit that advocates for LGBTQ+ residents, hosted the events in partnership with the
library and paid for the drag performers”, 9/6/24 RN&R “Washoe County Library System
values our partnership with Our Center”.


CERTIFICATION
I, Drew J. Ribar, certify that this exhibit is a true and accurate representation of the document
referenced.

Respectfully submitted,
/S/Drew J. Ribar
Drew J. Ribar
Pro Se Plaintiff
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     NEWS

Sashaying away: After Washoe County officials banned Drag
Queen Story Hour at libraries, Our Center announced the event
will continue at three new venues
        by Carly Sauvageau
        September 2, 2024




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https://renonr.com/2024/09/02/sashaying-away-after-washoe-county-officials-banned-drag-queen-story-hour-at-libraries-our-center-announced-the-event-will-continue-at-three-new-venues/     1/11
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Drew Ribar speaks at the Aug. 21 Washoe County Library Board of Trustees meeting, during which his one-year suspension, for allegedly injuring a librarian at a June
2024 Drag Queen Story Hour event, was upheld. Photo/Carly Sauvageau



https://renonr.com/2024/09/02/sashaying-away-after-washoe-county-officials-banned-drag-queen-story-hour-at-libraries-our-center-announced-the-event-will-continue-at-three-new-venues/    2/11
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The Washoe County Library Board of Trustees on Aug. 21 voted to overturn the suspensions of two of the three people initially banned from
the library system following a Rainbow Fest and Drag Queen Story Hour event on June 15.


The trustees determined Sandee Tibbett and Fred Myer could again go to Washoe County libraries as of midnight that night. Drew Ribar—
who ran an unsuccessful campaign against P.K. O’Neill (R-Carson City) this year for the Nevada Assembly District 40 seat—remains
suspended until June 15, 2025.


Ribar’s suspension will end one year after his actions at the Rainbow Fest and Drag Queen Story Hour—a reading program that originated in
San Francisco in which a drag artist reads age-appropriate books to children—at the North Valleys Library on June 15 resulted in a librarian
reportedly getting injured. After the event, Washoe County cancelled all future Drag Queen Story Hours in the library system. This is all part
of an ongoing culture war that has been playing out not only in the Washoe County Library System, but regionally and nationally for the past
several years.




https://renonr.com/2024/09/02/sashaying-away-after-washoe-county-officials-banned-drag-queen-story-hour-at-libraries-our-center-announced-the-event-will-continue-at-three-new-venues/    3/11
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                     During the Aug. 21 Washoe County Library Board of Trustees meeting, trustees voted to lift the suspensions of two Drag
                     Queen Story Hour protesters, Sandee Tibbett and Fred Myer. Photo/Carly Sauvageau



According to library staff and others present during the Rainbow Fest and Drag Queen Story Hour on June 15, library staff monitored who was
coming in and out of the event. Every child needed to have an adult with them to enter.


Ribar did not bring a child and was not let into the Drag Queen Story Hour. However, as people entered the room, Ribar placed his foot in the
space between the door and the doorway, keeping the door open.
https://renonr.com/2024/09/02/sashaying-away-after-washoe-county-officials-banned-drag-queen-story-hour-at-libraries-our-center-announced-the-event-will-continue-at-three-new-venues/    4/11
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“My foot was definitely in there,” he said during the Aug. 21 meeting of trustees, adding that he placed his foot there so he could get into the
library. Library staff attempted to keep him out, and the altercation led to the reported arm injury of the librarian.


As a result, Washoe County’s Workplace Violence Committee unanimously voted to discontinue Drag Queen Story Hour over staff-safety
concerns, according to a letter to library staff from Washoe County Manager Eric Brown.


“Despite ongoing efforts by library staff and volunteers to enhance safety measures, including increased security presence and de-escalation
training, the committee concluded that the risks posed to county employees have reached an unacceptable level,” Brown wrote.


Brown was not made available to the RN&R for an interview.


Viewpoints from the library

Washoe County Library System spokesperson Brad Bynum told the RN&R that the decision did not come from library staff or the library
board, but the county alone.


“(Library director) Jeff Scott didn’t make that decision,” Bynum said. “Stacy McKenzie, our assistant director, did not make that decision.
None of the branch managers made that decision. We really value these events; the Washoe County Library System values our partnership
with Our Center. We value our LGBT+ patrons … and want to continue to serve that part of our community.”


Bynum said that while he can’t speak for everyone on staff, because there’s a diversity of views throughout the library system, the staff
members with whom he has spoken about the cancellation “all expressed a high degree of disappointment.”


“There’s a lot of LGBT staff, and this feels personal to them,” Bynum said. “And it feels like a capitulation to bullies. And it’s a small group of
five or six patrons. Most of them don’t even have library cards. They’re just people who show up to disrupt these events.”




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Ribar said at the Aug. 21 trustee meeting that he does not utilize library services but visits libraries to “record government.” Bynum said this is
common among the people who protest Drag Queen Story Hour, and most of them do not have library cards.


Tibbett and Myer are among the people who have regularly protested Drag Queen Story Hour. During the June 15 Rainbow Fest, Tibbett
brought a child with her and received a bracelet to be let into the event. According to a video obtained by the Reno News & Review, Tibbett
held up a sign during the story hour, but it was unclear what it said. In the same video, library staff asked Tibbett where her child was, and she
told them it was “none of their business.”


McKenzie told the library trustees at the Aug. 21 meeting that what Tibbett had held up was “insulting and child-inappropriate signage,
including the logo of a known LGBTQ hate group.”


North Valleys Library Manager Jonnica Bowen said at the Aug. 21 meeting that Myer had harassed library staff and called Bowen a pervert.
Myer denied this happened.


Suspensions overturned

The library board voted on Aug. 21 to overturn Tibbett and Myer’s suspensions. Tibbett was granted the appeal because the board said a one-
year suspension was too harsh for what she had done. Myer was granted an appeal after his wife, Victoria Myer, showed the board a video of
Fred Myer staying outside the boundaries of the event and not exhibiting confrontational behavior.


Bowen said the video showed just one part of an entire day.


“This board is very conflicted because we want to show the utmost respect to the jobs undertaken by our library staff,” Library Board Chair
Ann Silver said before the vote. “But I would entertain either to forgo … or reduce the suspension.”


Victoria Myer thanked the board for watching her video but said there was still a lot of work to do to change the library system. This was
echoed by Fred Myer, Ribar and others in the audience who said the librarians were liars.

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Victoria Myer also said the librarians locked an 11-year-old girl and a 10-year-old girl in the library during one of these events. McKenzie said
the librarians didn’t let the girls out because children could not attend the event without an adult—and could not leave without the adult with
whom they came.


“We keep hearing that we’ve done something unlawful, and yet no police officers have contacted us. There is nothing going on,” McKenzie
said.


Others during the public comment period after the meeting criticized the library board for its decision to overturn the two suspensions.


“Shame on this library board for their lack of support for our librarians. They deserve better than what you gave them tonight,” citizen Cate
Salim said.


Tara de Queiroz commented: “I assumed that the library board would look at this matter and come in from the point of view of supporting
library staff. Library staff were put in the position of defending a library event from people who were there to spread anti-LGBTQ hate and
slander. Instead, the library board seems to take the view that there are two equal sides to this issue. This is not an issue with two equal sides.”


Stacey Spain, the executive director of Our Center, a nonprofit that supports Reno’s LGBTQ+ community, told the RN&R the county was
treating the two sides of the issue with false equivalency.




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                     Stacey Spain, the executive director of Our Center, said that Washoe County was treating the two sides of the Drag
                     Queen Story Hour protests with false equivalency. “No one asks the NAACP to sit down at the table with the Ku Klux
                     Klan,” she said. Photo/David Robert



“What I would say is no one asks the NAACP to sit down at the table with the Ku Klux Klan,” Spain said. “That is an exaggerated kind of
comparison, but it could shake some folks up to think about the fact that LGBTQ individuals and families for two years had to sit in a room
with folks who denied their humanity, who said they should not exist, who called them pedophiles.”

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Ribar told KOLO 8 that he does not have a problem with the LGBTQ community.


“They’re free to have whatever sexuality they want to have; that’s up to them. It’s a free country,” Ribar said in the interview. “The issue I
have is when you bring children into it.”


Similar sentiments are often expressed by those who have protested Drag Queen Story Hour and books in the Washoe County Library System
they say are inappropriate for children. The counter-arguments to these protests are typically that people do not have to attend Drag Queen
Story Hour and should monitor their children’s media consumption if they don’t feel it is appropriate, rather than banning books from the
entire library system.


Jon Lewis, a research fellow at the Program on Extremism at George Washington University, said protests toward LGBTQ+ programming and
content have been increasing, and the protests in Washoe County are part of a greater movement happening nationally.


“I think this unfortunately fits pretty neatly in the broader context of anti-drag mobilization efforts which have targeted LGBTQ people in the
U.S. over the last couple years,” Lewis said in an interview with the RN&R. “When we look at data from research organizations and nonprofits
to study this, we see a very concerning rise in this type of local level, unaffiliated political violence and threats to public officials.”


Just a couple of examples: In Lake Luzerne, N.Y., a library was forced to close after simply announcing a drag queen story hour last
year. Last October, protesters in San Fernando, Calif., physically blocked the door of a drag queen story hour event so people could not
go inside.


Though some residents criticized the county for giving in to the protestors, Lewis said the jurisdiction is being met with a challenge that goes
well beyond Washoe County, and there is no real handbook on how to deal with the moment in which we find ourselves.


“I think what’s tricky is there aren’t really many other tools in the toolbox that we can point to as good off-ramps, right?” Lewis said. “That’s
the tricky balancing act. What is the other side of that coin? Because we have a very strong and unique set of protections when it comes to
speech and assembly.”


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The future of Drag Queen Story Hour

Though Washoe County libraries are no longer hosting Drag Queen Story Hour, the events will continue at non-government venues in Reno
including Reno Little Theater, Brüka Theatre and the Unitarian Universalist Fellowship of Northern Nevada, an inclusive faith group.


“Very rarely do we get to create spaces of queer joy,” said Nathan Bakken, the director of congregational life for the UUFNN.


Bakken said the church wants to host Drag Queen Story Hour because of the mistrust LGBTQ+ people may feel toward faith communities.


“We’re excited for this opportunity,” they said.


Christopher Daniels, who uses they/them pronouns and performs as Ginger Devine for Drag Queen Story Hour, said they had been
anticipating that Drag Queen Story Hour could be canceled for the last six years, as that’s the amount of time people have been protesting at
school and library board meetings.


Still, when the event was canceled, Daniels said they felt gutted.


“What message has the county sent? Anytime that there’s an important event that (people) don’t like, do they just need to show up and use
violence, and then the county is going to go, ‘Oh, well, this is unsafe’?” Daniels said.


Daniels said it is typical for the LGBTQ community to rise to the occasion and stand up for themselves. They said the community has shown
that through the support and organizing that allowed Drag Queen Story Hour to persevere and expand.


The library system held Drag Queen Story Hour three to four times a year before the cancellation, Bynum said. Now, the events being held at
venues other than the libraries are slated to occur nearly once a month, according to a schedule provided by Spain.




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“We’re going to do it everywhere,” Daniels said. “So, if you’re tired of hearing about Drag Queen Story Hour, I’m so sorry, honey, because
you’re about to hear a whole lot more about me.”




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